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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-944V
                                        Filed: May 5, 2016

* * * * * * * * * * * * * * * *                               UNPUBLISHED
JORDAN GARFINKEL,             *
                              *
                              *                               Special Master Gowen
          Petitioner,         *
                              *
v.                            *                               Attorneys’ Fees and Costs.
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Stephen M. Greecher, Jr., Tucker Arensberg, P.C., Lemoyne, PA, for petitioner.
Adriana R. Teitel, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

         On October 6, 2014, Jordan Garfinkel (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioner alleged
that as a result of receiving an influenza vaccination on October 6, 2011, he suffered Lewis-Sumner
Syndrome and Chronic Inflammatory Demyelinating Polyneuropathy. On April 13, 2016, the
parties filed a stipulation in which they agreed to an award of compensation to petitioner. On April
13, 2016, the undersigned issued a decision adopting the parties’ stipulation for an award. See
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
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Decision on J. Stip., filed Apr. 13, 2016.

        On May 5, 2016, petitioner filed an unopposed application for attorneys’ fees and costs.
Petitioner requested an award of $30,550.00 for attorneys’ fees and costs. See Application for Fees
and Costs at ¶ 7, filed May 5, 2016. Pursuant to General Order #9, petitioner also requested
$14,450.00 as reimbursement for costs personally incurred. Id. “Respondent does not object to the
overall amount requested by petitioner, but notes that the lack of objection should not be construed
as an admission, concession, or waiver as to any of the matters raised by petitioner’s request for
attorneys’ fees and costs, including but not limited to the hourly rates requested, the number of
hours requested, and other litigation related costs. Id. at ¶ 8.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. § 300
aa-15(e). Based on the reasonableness of petitioner’s unopposed request, the undersigned
GRANTS the request for approval and payment of attorneys’ fees and costs and petitioner’s out-
of-pocket litigation expenses.

       Accordingly, an award should be made as follows:

       (1)     in the form of a check jointly payable to petitioner and to petitioner’s attorney,
               Stephen M. Greecher, Jr., of Tucker Arensberg, P.C., in the amount of
               $30,550.00; and

       (2)     in the form of a check payable to petitioner only, in the amount of $14,450.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court SHALL ENTER JUDGMENT in accordance herewith.3


       IT IS SO ORDERED.

                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
